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                                         UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF DELAWARE


         In re                                                            Chapter 11

         OPEN ROAD FILMS, LLC, a Delaware                                 Case No.: 18-12012 (LSS)
         limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.
                                                                          Ref. Docket Nos. 65 and 97


                  ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION
                      AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

                    Upon the motion [Docket No. 65] (the “Motion”)2 of Open Road Films, LLC and its

         affiliated debtors and debtors in possession (the “Debtors”) in the above-captioned chapter 11

         cases (the “Cases”) for entry of an order, pursuant to sections 105(a), 330, and 331 of title 11 of

         the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rule 2016 of the

         Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2016-2 of the Local

         Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

         District of Delaware (the “Local Rules”), establishing procedures for interim compensation and

         reimbursement of expenses for professionals and official creditors’ committee members; and

         upon consideration of the record of these Cases; and it appearing that the Court has jurisdiction

         to consider the Motion pursuant to 28 U.S.C. §§ 1334 and 157, and the Amended Standing Order

         of Reference from the United States District Court for the District of Delaware dated February

         29, 2012; and it appearing that the Motion is a core matter pursuant to 28 U.S.C. § 157(b)(2) and


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                The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                LLC (9375-Del.). The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
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                Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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         that the Court may enter a final order consistent with Article III of the United States

         Constitution; and it appearing that venue of these Cases and of the Motion is proper pursuant to

         28 U.S.C. §§ 1408 and 1409; and it appearing that due and adequate notice of the Motion has

         been given under the circumstances, and that no other or further notice need be given; and it

         appearing that the relief requested in the Motion is in the best interests of the Debtors’ estates,

         their creditors, and other parties in interest; and after due deliberation, and good and sufficient

         cause appearing therefor, it is hereby

                ORDERED, ADJUDGED, AND DECREED THAT:

                1.      The Motion is GRANTED, as set forth herein.

                2.      Except as may otherwise be provided in an order of this Court authorizing the

         retention of specific Professionals, all Professionals in these Cases retained by the Debtors or any

         official creditors’ committee that may be formed (the “Committee”) may seek interim payment

         of compensation and reimbursement of expenses in accordance with the following procedures

         (collectively, the “Compensation Procedures”):

                          a. On or before the 5th day of each calendar month, or as soon as practicable
                             thereafter, each Professional may file an application (a “Monthly Fee
                             Application”) with the Court for interim approval and allowance of
                             compensation for services rendered and reimbursement of expenses incurred
                             during any preceding month or months, and serve a copy of such Monthly
                             Fee Application by regular mail on each of the following parties
                             (collectively, the “Notice Parties”):
                                i) proposed counsel to the Debtors, Klee, Tuchin, Bogdanoff & Stern
                                   LLP, 1999 Avenue of the Stars, 39th Floor, Los Angeles, California
                                   90067, Attn: Michael L. Tuchin, Esq. and Jonathan M. Weiss, Esq.;

                                ii) proposed counsel to the Debtors, Young Conaway Stargatt & Taylor,
                                    LLP 1000 N. King St., Rodney Square, Wilmington, Delaware 19801,
                                    Attn: Michael R. Nestor, Esq. and Robert F. Poppiti, Jr., Esq.;

                                iii) counsel to the Agent, Paul Hastings LLP (i) 1999 Avenue of the Stars,
                                     27th Floor, Los Angeles, California 90067, Attn: Susan Williams, Esq.
                                     and (ii) 200 Park Avenue, New York, New York 10166, Attn: Andrew
                                     V. Tenzer, Esq.;

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                       iv) counsel to the Agent, Ashby & Geddes, P.A., 500 Delaware Avenue,
                           8th Floor, Wilmington, Delaware 19801, Attn: Bill Bowden, Esq.;

                       v) the Office of the United States Trustee for the District of Delaware, J.
                          Caleb Boggs Building, 844 King Street, Suite 2207, Lockbox 35,
                          Wilmington, DE 19801, Attn: Linda Richenderfer, Esq.; and

                       vi) proposed counsel to the Committee, Pachulski Stang Ziehl & Jones
                           LLP, 780 Third Avenue, 34th Floor, New York, NY 10017, Attn:
                           Robert J. Feinstein, Esq. and Scott L. Hazan Esq., and 919 North
                           Market Street, 17th Floor, Wilmington, DE 19801, Attn: Colin R.
                           Robinson, Esq.

                     Any Professional that fails to file a Monthly Fee Application for a particular
                     month or months may subsequently submit a consolidated Monthly Fee
                     Application including any prior month or months. All Monthly Fee
                     Applications shall comply with the Bankruptcy Code, the Bankruptcy Rules,
                     applicable Third Circuit law, and Local Rule 2016-2.

                b.   Each Notice Party will have 21 days after service of a Monthly Fee
                     Application to review the request (the “Review Period”). If any Notice
                     Party wishes to object to a Professional’s Monthly Fee Application, the
                     objecting party shall serve a written notice (a “Notice of Objection”) so that
                     it is received by the end of the Review Period by the applicable Professional
                     and each of the Notice Parties. A Notice of Objection shall set forth the
                     precise nature of the objection and the amount of fees and expenses at issue.

                c.   Upon the expiration of the Review Period, if a Notice of Objection has not
                     been served with respect to a Monthly Fee Application, a Professional may
                     file a certificate of no objection with the Court with respect to the fees and
                     expenses requested in its Monthly Fee Application (each, a “CNO”). After
                     a CNO is filed, the Debtors are authorized and directed to pay the
                     Professional an amount equal to 80% of the fees and 100% of the expenses
                     requested in the applicable Monthly Fee Application. If a Notice of
                     Objection was timely received and remains unresolved, a Professional may
                     file a CNO with the Court with respect to the unopposed portion of the fees
                     and expenses requested in its Monthly Fee Application, and the Debtors are
                     authorized and directed to pay the Professional an amount (the “Reduced
                     Monthly Payment”) equal to 80% of the fees and 100% of the expenses not
                     subject to a Notice of Objection.

                d.   If a Notice of Objection is timely served in response to a Monthly Fee
                     Application, the objecting party and the Professional shall attempt to resolve
                     the objection on a consensual basis. If and to the extent that the parties
                     reach an agreement, the Debtors shall promptly pay 80% of the agreed-upon
                     fees and 100% of the agreed-upon expenses, to the extent not already
                     included in a Reduced Monthly Payment. If, however, the parties are unable
                     to reach a complete resolution of the objection within 10 days after service
                     of the Notice of Objection, unless otherwise agreed by the parties, the
                     objecting party shall file its objection (the “Objection”) with the Court
                     within 3 business days and serve such Objection on the respective
                     Professional and each of the Notice Parties. Thereafter, the Professional
                     may either (i) file with the Court a response to the Objection, together with a
                     request for a hearing on the matter or (ii) forego filing a response to the
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                     Objection and seeking payment of the disputed amounts until the next
                     interim or final fee application hearing, at which time the Court will
                     consider the Objection, if requested by the parties.

                e.   At three-month intervals or such other intervals convenient to the Court (the
                     “Interim Fee Period”), each of the Professionals may file with the Court and
                     serve on the Notice Parties an application (an “Interim Fee Application”) for
                     interim Court approval and allowance of the payment of compensation and
                     reimbursement of expenses sought by such Professional in its Monthly Fee
                     Applications, including any holdbacks, in connection with the Interim Fee
                     Period, pursuant to section 331 of the Bankruptcy Code. The Interim Fee
                     Application must include a brief description identifying the following:

                       i) the Monthly Fee Applications that are the subject of the request;

                       ii) the amount of fees and expenses requested;

                       iii) the amount of fees and expenses paid to date and/or subject to an
                            Objection;

                       iv) the deadline for parties to file objections (the “Additional Objections”)
                           to the Interim Fee Application; and

                       v) any other information requested by the Court or required by the Local
                          Rules.

                     Objections, if any, to the Interim Fee Applications shall be filed and served
                     upon the Professional that filed the Interim Fee Application and the other
                     Notice Parties so as to be received on or before 4:00 p.m. prevailing Eastern
                     Time on the 21st day (or the next business day if such day is not a business
                     day) following service of the applicable Interim Fee Application.

                f.   The Debtors will request that the Court schedule a hearing on the Interim
                     Fee Applications at least once every 3 months, or at such other intervals as
                     the Court deems appropriate. If no Objections are pending and no
                     Additional Objections are timely filed, the Court may grant an Interim Fee
                     Application without a hearing.

                g.   The first Interim Fee Period will cover the month in which the Petition Date
                     occurs and the first two full months immediately following such month.
                     Thus, as applicable to these chapter 11 Cases, the first Interim Fee Period
                     will cover the Petition Date through November 30, 2018. Each Professional
                     must file and serve its first Interim Fee Application on or before the 20th
                     day following the end of the first Interim Fee Period. Accordingly, the first
                     Interim Fee Applications must be filed on or before December 20, 2018.

                h.   The pendency of an Objection to payment of compensation or
                     reimbursement of expenses will not disqualify a Professional from the future
                     payment of compensation or reimbursement of expenses under the
                     Compensation Procedures.

                i.   Neither (i) the payment of or the failure to pay, in whole or in part, interim
                     compensation and/or the reimbursement of or the failure to reimburse, in
                     whole or in part, expenses under the Compensation Procedures nor (ii) the
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                              filing of or failure to file an Objection will bind any party in interest or the
                              Court with respect to the final allowance of applications for payment of
                              compensation and reimbursement of expenses of Professionals. All fees and
                              expenses paid to Professionals under the Compensation Procedures are
                              subject to disgorgement until final allowance by the Court.

                3.       Each member of the Committee is permitted to submit statements of expenses

         incurred in the performance of the duties of the Committee (excluding fees and expenses of

         counsel to individual committee members), with supporting documentation to Committee

         counsel, which counsel shall collect and submit such Committee member’s request for

         reimbursement in accordance with the Compensation Procedures. Approval of the

         Compensation Procedures, however, will not authorize payment of such expenses to the extent

         that such payment is not authorized under the Bankruptcy Code, the Bankruptcy Rules, Local

         Rules, or the practice of this Court.

                4.       The Professionals shall be required to serve the Interim Fee Applications and the

         Final Fee Applications only on the Notice Parties, and all other parties entitled to notice shall be

         entitled to receive only notices of hearings on the Interim Fee Applications and Final Fee

         Applications.

                5.       In each Interim Fee Application and Final Fee Application, all attorneys who have

         been or are hereafter retained pursuant to sections 327 or 1103 of the Bankruptcy Code (unless

         such attorney is an ordinary course professional), shall (i) apply for compensation for

         professional services rendered and reimbursement of expenses incurred in connection with the

         Debtors’ Cases in compliance with sections 330 and 331 of the Bankruptcy Code and the

         applicable provisions of the Bankruptcy Rules, Local Rules, and any other applicable procedures

         and orders of the Court, and (ii) intend to make a reasonable effort to comply with the U.S.

         Trustee’s requests for additional information and disclosures as set forth in the Guidelines for



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         Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

         U.S.C. § 330 by Attorneys in Large Chapter 11 Cases Effective as of November 1, 2013.

                6.      All notices given in accordance with the Compensation Procedures as set forth

         herein shall be deemed sufficient and adequate notice and in full compliance with the applicable

         provisions of the Bankruptcy Code, Bankruptcy Rules, and Local Rules.

                7.      The Debtors shall include all payments made to Professionals in accordance with

         the Compensation Procedures in their monthly operating report(s), identifying the amount paid to

         each of the Professionals.

                8.      Notwithstanding anything to the contrary contained herein, any payment made or

         to be made under this Order, any authorization contained in this Order, or any claim for which

         payment is authorized hereunder, shall be subject to the requirements imposed on the Debtors

         under any orders of this Court approving any use of cash collateral by the Debtors and any

         budget in connection therewith.

                9.      The Debtors are authorized and empowered to take all actions necessary or

         appropriate to implement the relief granted in this Order.

                10.     The Court retains jurisdiction and power with respect to all matters arising from

         or related to the implementation or interpretation of this Order.




01:23620894.3   Dated: September 28th, 2018                    LAURIE SELBER SILVERSTEIN
                Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE
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